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7

8                        IN THE UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           ) 1:14-CR-00228-LJO-SKO
                                         )
12                     Plaintiff,        ) PRELIMINARY ORDER OF
                                         ) FORFEITURE
13        v.                             )
                                         )
14   JEREMY MICHAEL MURPHY, and          )
     ASEEL AIMEN AL-SABER,               )
15                                       )
                      Defendants.        )
16                                       )
17       Based upon the plea agreements entered into between United States

18   of America and defendants Jeremy Michael Murphy and Aseel Aimen Al-

19   Saber, it is hereby

20       ORDERED, ADJUDGED AND DECREED as follows:

21       1.    Pursuant to 31 U.S.C. § 5317(c)(1), defendant Bree Ann

22   Benson’s interest in the following property shall be condemned and

23   forfeited to the United States of America, to be disposed of according

24   to law:

25             a. 2006 Land Rover Range Rover, VIN: SALSF25416A918902;

26             b. 2004 Bentley, VIN: SCBCR63W64C021299;

27             c. 2005 Bentley, VIN: SCBCR63W05C024281;

28             d. 2012 Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA23135;

29                                                    Preliminary Order of Forfeiture

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1          e. 1997 30-foot cabin Motorboat, Vehicle/Hull Identification

2             Number PLCMK006F697, with 2000 Trailer; and,

3          f. 2009 Mercedes Benz C-Class C200 Sport Sedan, VIN:

4             WDDGF54X49R049847;

5          g. Approximately $20,192.37 seized from Wells Fargo account

6             number 5560878786, held in the name of Gonzalez Painting,

7             with Miguel Gonzalez as the primary and sole signor on

8             account;

9          h. Approximately $13,675.99 seized from Wells Fargo account

10            number 7632274366, held in the name of B.L.O.W., with

11            Miguel Gonzalez as the primary and sole signor on account;

12         i. Approximately $36,222.75 seized from Wells Fargo account

13            number 7632273871, held in the name of Infinity Ink

14            Fresno, with Miguel Gonzalez as the primary and sole

15            signor on account;

16         j. Approximately $55,203.20 seized from Wells Fargo account

17            number 9247007264, held in the name of Norma Pacheco;

18         k. Approximately $6.70 seized from Wells Fargo account number

19            9247004741, held in the name of Norma Pacheco;

20         l. Approximately $17,665.00 in U.S. Currency;

21         m. Approximately $8,086.00 in U.S. Currency;

22         n. Approximately $17,000.00 in U.S. Currency;

23         o. Approximately $140,630.00 in U.S. Currency;

24         p. Approximately $25,260.00 in U.S. Currency;

25         q. Approximately $23,675.00 in U.S. Currency;

26         r. Approximately $219,747.00 in U.S. Currency;

27         s. Firearm, Black SKS, serial number 19855-BA 4875;

28         t. Firearm, Black AR DPMS, serial number 149533;

29                                                Preliminary Order of Forfeiture

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1          u. Firearm, Black Woodrip SKS, serial number N-PAP007383;

2          v. Firearm, Silver 0.45 cal Smith & Wesson, model 1988,

3             serial number BDC3873;

4          w. Firearm, Black Short SKS, serial number 1968BF2282;

5          x. Firearm, Black Keltech 12 Gauge shotgun, serial number

6             X7523;

7          y. Firearm, Black AR Model DT-15, serial number DT00000021;

8          z. Firearm, Rock Island 12 Gauge shotgun, serial number

9             R1A1368646;

10         aa.   Firearm, Winchester Model 94, .30 cal rifle, serial

11               number 10103734;

12         bb.   Firearm, AR BSA Model ZM4, serial number DSF00782;

13         cc.   Firearm, Black SAIGA 12 gauge Model CANA-12, serial

14               number 13606582;

15         dd.   Firearm, Mossberg MBP 7.62, serial number MVP028504;

16         ee.   Firearm, Mossberg black 12 gauge shotgun, serial number

17               U770197;

18         ff.   Firearm, Desert Eagle Israel Military .44 cal, serial

19               number 27269;

20         gg.   Firearm, Colt 380 Auto Pocket lite GP20714 (silver,

21               black handle);

22         hh.   Firearm, Colt .25 cal, serial number 393499 (silver,

23               wood color handle);

24         ii.   Firearm, Glock 35 .40 cal, serial number EGR807;

25         jj.   Firearm, Derringer .38 special, serial number 059908;

26         kk.   Firearm, Remington Model 1100, serial number M584677V;

27         ll.   Firearm, Black AR, serial number NCV35924;

28         mm.   Firearm, Black AR Model ST-15, serial number KAI02810;

29                                                Preliminary Order of Forfeiture

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1               nn.   Firearm, SKS rifle, serial number L22288;

2               oo.   Firearm, Remington Rifle Model 7400, serial number

3                     B8135857;

4               pp.   Firearm, SKS Rifle Model WASR-10, serial number 1-

5                     92504-11R0;

6               qq.   Firearm, Sears Roebuck Model 43-103 0.22 cal;

7               rr.   Firearm, Taurus Model PT 1911 .45 cal, NAP64101;

8               ss.   Firearm, Glock 22 .40 cal, serial number VEW010;

9               tt.   Firearm, Iver Johnson Thrasher SS, serial number

10                    ESP0253;

11              uu.   Firearm, AR DPMS Model .223, serial number W0021064;

12              vv.   Firearm, Kel-tec SUB-2000, serial number EQ525;

13              ww.   Firearm, Ruger American .22 cal, serial number 830-

14                    16088;

15              xx.   A personal forfeiture money judgment against defendant
                      JEREMY MICHAEL MURPHY in the amount of $242,510.00;
16
                yy.   A personal forfeiture money judgment against defendant
17                    ASEEL AIMEN AL-SABER in the amount of $102,050.00.
18
         2.     The above-listed assets constitute property which was
19
     involved in a violation of 18 U.S.C. § 371 or is traceable to such
20
     violation.
21
         3.       Pursuant to Rule 32.2(b), the Attorney General (or a
22
     designee) shall be authorized to seize the above-listed property.
23
     The aforementioned property shall be seized and held by the Internal
24
     Revenue Service – Criminal Investigations in its secure custody and
25
     control.
26
         4.     a. Pursuant to 31 U.S.C. § 5317(c)(1)(B), incorporating 21
27
     U.S.C. § 853(n), and Local Rule 171, the United States shall publish
28
     notice of the order of forfeiture.          Notice of this Order and notice
29                                                      Preliminary Order of Forfeiture

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1    of the Attorney General’s (or a designee’s) intent to dispose of the

2    property in such manner as the Attorney General may direct shall be

3    posted for at least 30 consecutive days on the official internet

4    government forfeiture site www.forfeiture.gov.           The United States may

5    also, to the extent practicable, provide direct written notice to any

6    person known to have alleged an interest in the property that is the

7    subject of the order of forfeiture as a substitute for published

8    notice as to those persons so notified.

9               b. This notice shall state that any person, other than the

10   defendant, asserting a legal interest in the above-listed property,

11   must file a petition with the Court within sixty (60) days from the

12   first day of publication of the Notice of Forfeiture posted on the

13   official government forfeiture site, or within thirty (30) days from

14   receipt of direct written notice, whichever is earlier.

15        5.     If a petition is timely filed, upon adjudication of all

16   third-party interests, if any, this Court will enter a Final Order of

17   Forfeiture pursuant to 31 U.S.C. § 5317, in which all interests will

18   be addressed.

19
     IT IS SO ORDERED.
20

21     Dated:   January 6, 2016                  /s/ Lawrence J. O’Neill
                                          UNITED STATES DISTRICT JUDGE
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29                                                      Preliminary Order of Forfeiture

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